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lN THE UNITED sTATEs DIsTRIcT coURT '~ ac.
FoR THE wEsTERN DISTRICT 0F TENNEssEE 95 AU,; 26 P

WESTERN DIVISION 33 llO

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TERRY J. JOHNSON and wife
DOROTHY JOI-INSON

Plaintiff,

v. No. 05-2015 DP
THE CITY OF DYERSBURG,
Chief of Police Bob Williamson;
Officer Chris Clements; Owner,
Homestead Ace Hardware; Bobby
Sellers, Agent of Homestead Ace
Hardware; Mark Gwyo, Director of
Tennessee Bureau of Iovestigatioo,
Information Systems Divisioo, TBI
Instant Check System (TICS),

Defendants.

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ORDER GRANTING DEFENDANT MARK GWYN’S MOTION TO DISMISS

 

Before the Court is the motion (dkt. # 7) of Defendant Mark Gwyn (“Gwyn” or “Defendant”)
to dismiss. Defendant asserts that Plaintiffs Ten'y and Dorothy Johnson (“Plaintiffs”) have not stated
a claim upon which relief can be granted.' For the following reasons, the Court GRANTS
Defendant’s motion to dismiss
I. FACTUAL BACKGROUND2

On January 3, 2004, Plaintit`f`s Went to Defendant Homestead Ace Ha.rdware (“Homestead”)

    
  

 

1Plaintiffs did not respond to the instant motion. Therefore, it will be decided on the existing re t -

2The factual allegations are taken from Plaintiffs’ c mpl int an are presumed to be true for

purposes of the mstant motio_.trihcl)sné?é.eUmant enteer on the docket lance

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in Dyersburg to purchase a firearrn. They filled out the paperwork and were told to return on January
10, 2004, after the Tennessee Bureau of Investigation (“TBI”) performed the necessary check.
Defendant was the Director of the TBI. On January 10, 2004, Plaintiffs returned to Homestead.
They waited a considerable amount of time to receive the firearm. Two Dyersburg police officers
entered Homestead. Officer Clements placed his hands on his holster and instructed Plaintif`fTerry
Johnson (“Johnson”) to take his hands from his pocketsl Johnson alleges that he was “grabbed and
yanked” by the officer and was then placed in handcuffs Officer Clement explained that Johnson
was wanted for violating parole in Washington state. Johnson explained that he had never been to
Washington. Johnson complained that the handcuffs were too ti ght, but the officers did not loosen
them.

When they arrived at the police station, Johnson requested permission to make a telephone
call but was told he must first be booked and processed Johnson was then told that it was actually
New York City, not Washington, where he was wanted. Johnson stated that he had never been to
New York.

He was then handcuffed a second time and taken to City Hall to be fingerprinted once more,
this time at his request. Again he complained that the handcuffs were too tight and were cutting off
the circulation to his hands. He complained of excruciating pain.

After five and a half hours in jail, Johnson was released on his own recognizance He
appeared in court the following Monday and the charges were dismissed However, Johnson asserts
that the records have not been expunged Johnson alleges that he has suffered emotional distress,
physical illness, and injuries to his hands and arms.

On January 7, 2005, Plaintiffs filed a complaint with this Court. On April 29, 2005,

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Defendant filed the instant motion to dismiss
II. LEGAL STANDARD

A party may bring a motion to dismiss for failure to state a claim under Rule 12(b)(6). This
motion only tests whether the plaintiff has pleaded a cognizable olaim. Scheid v. Fanny Farmer
Candy Shops, Inc., 859 F.2d 434, 436 (6th Cir. 1988). Essentially, it allows the court to dismiss
meritless cases which would otherwise waste judicial resources and result in unnecessary di scovery.
See. ego Nietzke v. Williams, 490 U.S. 319, 326-27 (1989).

The Supreme Court has held that “a complaint should not be dismissed for failure to state
a claim unless it appears beyond doubt that the plaintiff can prove no set of facts in support of his

claim which would entitle him to relief” Conley v. Gibson, 355 U.S. 41, 45-46 (1957); see alj

 

M, 490 U.S. at 326-27; Lewis v. ACB Bus. Serv. lnc., 135 F.3d 389, 405 (6th Cir. 1997).
Thus, the stande to be applied when evaluating a motion to dismiss for failure to state a claim is
very liberal in favor of the party opposing the motion. Westlake v. Lucas, 537 F.2d 857, 858 (6th
Cir. 1976). Even if the plaintiff’ s chances of` success are remote or unlikely, a motion to dismiss
should be denied

To determine whether a motion to dismiss should be granted, the court must first examine
the complaint. The complaint must contain “a short and plain statement of the claim showing that
the pleader is entitled to relief.” Fed. R. Civ. P. 8(a). The complaint must provide the defendant
with “fair notice of what the plaintiff s claim is and the grounds upon which it rests.” Q_cLley, 355
U.S. at 47; Westlake, 537 F.2d at 858. The plaintiff, however, has an obligation to allege the

essential material facts of the case. Scheid, 859 F.2d at 436-37.

 

In reviewing the complaint, the court must accept as true all factual allegations in the

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complaint and construe them in the light most favorable to the plaintiff Windsor v. The Tennessean,
719 F.2d 155, 158 (6th Cir. 1983). Indeed, the facts as alleged by the plaintiff cannot be disbelieved

by the court. Nietzke, 490 U.S. at 327; Mumhy v. Sofamor Danek Group, lnc., 123 F.3d 394, 400

 

(6th Cir. 1997). Where there are conflicting interpretations of the facts, they must be construed in
the plaintiffs favor. Sinay v. Lamson & Sessions Co., 948 F.2d 1037, 1039-40 (6th Cir. 1991).
However, legal conclusions or unwarranted factual inferences should not be accepted as true.
Le_wis,l35 F.3d at 405-06.
III. ANALYSIS

A. Official Cap_acity

Defendant asserts that claims against him in his official capacity are barred by the Eleventh
Amendment to the United States Constitution.

Generally, the Eleventh Amendment precludes citizens from bringing suit against their own3
or other states in the federal court system. W Allinder v. Ohio, 808 F.2d 1180, 1184 (6th Cir. 1987)
(Mg Edelman v. Jordan, 415 U.S. 651 (1974); Employees v. Dept. of Pub. Health and Welfare of
MiLouri, 411 U.S. 279 (1973)). Courts and commentators suggest that the Eleventh Amendment
actually curbs federal judicial power under Article III by repealing one of its affirmative grants w
Seminole Tribe of Florida v. Florida, 517 U.S. 44 (1996); Children‘s Healthcare Is A Legal Duty, Inc.
M, 92 F.3d 1412 (6th Cir. 1996); gee alj William A. Fletcher, A Historical Intel_'pretation of

the Eleventh Amendment: A Narrow Construction of an Affirmative Grant of Jurisdiction Rather

 

Than a Prohibition Against Jurisdiction, 35 Stan. L. Rev. 1033 (1983) [hereinafter, Fletcher, §

 

SE Hans v. Louisiana, 134 U.S. 1 (1890) (stating that there is no distinction between
citizens and non-citizens).

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Narrow Construction].

 

“[T]he Eleventh Amendment . . . stand[s] not so much for what it says, but for the
presupposition of our constitutional structure which it confirms: that the States entered the federal
system with their sovereignty intact [and] that the judicial authority in Article III is limited by this
sovereignty . . .” Couer d'Alene Tribe v. Idaho, 42 F.3d 1244 (9th Cir. 1994) (guoting Blatchford
v. Native Village of Noatak, 501 U.S. 775, 779 (1991)).

There are, however, exceptions to sovereign immunity, whether asserted under the Eleventh
Amendment or under the common law. Probably the most important exception is found in Ex parte
Young, 209 U.S. 123 (1908). The Young principle allows federal courts to circumvent Eleventh
Amendment immunity when the complainant alleges that state officers took actions which are clearly
ultra vires. S_ee § More precisely, the Supreme Court held:

The various authorities we have referred to furnish ample justification for the

assertion that individuals who, as officers of the state, are clothed with some duty in

regard to the enforcement of the laws of the state, and who threaten or are about to

commence proceedings, either of a civil or criminal nature, to enforce against the

parties affected an unconstitutional act, violating the Federal Constitution, may be

enjoined by a Federal court of equity from such action.

Young, 209 U.S. at 155-56.
Courts have not read Young expansively. Children’s Healthcare, 92 F.3d at 1415 (citing

Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 102 (1984); Edelman, 415 U.S. at 666-67;

 

Kelley v. Metropolitan County Bd. of Educ., 836 F.2d 986, 990-91 (6th Cir. 1987), cert. denied, 487
U.S. 1206 (1988)). Young does not apply when the defendant state official has neither enforced nor
threatened to enforce an allegedly unconstitutional state statute or policy. Children’s Healthcare, 92

F.3d at 1415-16 (“General authority to enforce the laws of the state is not sufficient to make

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government officials proper parties to litigation challenging the law”) (gu_gti_ng MM
School Dist. ofPhiladelphia, 6 F.3d 108, 1 13 (3rd Cir. 1993)). In the complaint, Plaintiffs make no
allegation that Defendant has either enforced or threatened to enforce any unconstitutional statutes
against Plaintiffs.

Eleventh Amendment immunity may be abrogated by Congress’s express authority, under
§ 5 of the Fourteenth Amendment, “to enforce, by appropriate legislation, the provisions of this
article.” Seminole Tribe, 517 U.S. at 59 (_quoting U.S. Const. Amend. XIV). Following the Supreme
Court’s decision in Seminole Tribe, the Fourteenth Amendment represents the only Constitutional
provision enabling Congress to abrogate Eleventh Amendment immunity. Ld_. at 1128 (overruling
Pennsylvania v. Union Gas Co., 491 U.S. l (1989)).

In the instant case, Plaintiffs allege claims under 42 U.S.C. § 1983, a statute promulgated
pursuant to § 5 of the Fourteenth Amendment. Thus, the question before the Court is whether
Congress intended § 1983 to reach the states. Because a state is not a “person” under § 1983, the
state itself cannot be held liable for violations thereof w Monell v. Dept. of Soc. Servs., 436 U.S.
658 (1978). Courts have consistently held that § 1983 does not represent an abrogation of a state’s
Eleventh Amendment immunity In Will v. Michigan Dcp't of State Police, 491 U.S. 58 (1989), the
Supreme Court explained:

Section 1983 provides a federal forum to remedy many deprivations of civil liberties,

but it does not provide a federal forum for litigants who seek a remedy against a State

for alleged deprivations of civil liberties The Eleventh Amendment bars such suits

unless the State has waived its immunity, or unless Congress has exercised its

undoubted power under § 5 of the Fourteenth Amendment to override that immunity,

That Congress, in passing § 1983, had no intention to disturb the States’ Eleventh

Amendment immunity and so to alter the federal-state balance in that respect was

made clear in our decision in Quem. . . . [T]he principal purpose behind the
enactment of § 1983 was to provide a federal forum for civil rights claims. . . .

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Congress did not provide such a federal forum for civil rights claims against States.

M_l_, 491 U.S. at 66 (Mig§luern v. Jordan, 440 U.S. 332 (1979)).

Whether state officers come within the ambit of § 1983 has been the subject of considerable
debate and opinion. S_ee, e.g., Kentucky v. Graham, 473 U.S. 159 (1985); Pennhurst, 465 U.S. at
102. Generally, public officials named as defendants in their official capacities, are considered to
be acting in the interests of, and on behalf of, the state, and thus they are shielded by the Eleventh

Amendment. Graham, 473 U.S. at 165-66; Pennhurst, 465 U.S. at 101-102. When public officials

 

are named as defendants in their official capacities, “[t]he general rule is that a suit is against the
sovereign if the judgment sought would expend itself on the public treasury or domain, or interfere
with the public administration, or if the effect of the judgment would be to restrain the Govemment
from acting, or to compel it to act.” Pennhurst, 465 U.S. at 101 n.ll (gu_oti_ng Dugan v. Rank, 372
U.S. 609, 620 (1963)).
The Supreme Court made clear in M, that state officers cannot be sued in their official capacity
for damages under 42 U.S.C. § 1983, explaining that monetary damage suits against state officers
in their official capacities are actually monetary damage suits against the offices themselves, and
consequently, against the sovereign states. id at 71.

In the instant case, the Court concludes that, pursuant to the Eleventh Amendment, it is
without subject matter jurisdiction over Plaintiffs’ claims against Gwyn in his official capacity,
inasmuch as they assert monetary liability against the State of Tennessee. Accordingly, Defendant’s

motion to dismiss Plaintiffs’ claims against him in his official capacity is granted.

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Defendant contends that claims against him in his individual capacity should be dismissed
because there are no allegations of his personal involvement in the alleged unconstitutional activity
Plaintiffs contend that Defendant violated their constitutional rights when TBI provided
misinformation to Homestead, which ultimately led to Johnson’s arrest.

Title 42 of the United States Code, Section 1983 states in pertinent part,

Every person who, under color of any statute, ordinance, regulation, custom, or

usage, of any State . . . subjects, or causes to be subiected, any citizen of the United

States or other person within the jurisdiction thereof to the deprivation of any rights,

privileges, or immunities secured by the Constitution and laws, shall be liable to the

party injured in an action at law, suit in equity, or other proper proceeding for redress.

42 U.S.C. § 1983, There is no respondeat superior liability under § 1983. _S__¢Y Monell v. D§p't of
Soc. Servs., 436 U.S. 658, 691 (1978); Bellamy v. Bradley, 729 F.2d 416, 421 (6th Cir. 1984)
(liability under § 1983 in a defendant's personal capacity must be predicated upon some showing of
direct, active participation in the alleged misconduct). lt is clear nom the face of the complaint that
Plaintiffs rely entirely on the supervisory and management position held by Defendant as the sole
basis for any claim that Gwyn violated Plaintiffs’ rights. Thus, Plaintiffs have not stated a claim
against Gwyn in his individual capacity Accordingly, Defendant’s motion to dismiss Plaintiffs’
claims against him in his individual capacity is granted

C. State Law Claims

 

Defendant avers that he is immune from all state law claims that Plaintiffs asserts against
him. He contends that sovereign immunity prevents state claims against him in his official capacity

Section 20-13-102 of the Tennessee Code Annotated states that

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(a) No court in the state shall have any power, jurisdiction, or authority to entertain

any suit against the state, or against any officer of the state acting by authority of the

state, with a view to reach the state, its treasury, hinds, or property, and all such suits

shall be dismissed as to the state or such officers, on motion, plea, or demurrer of the

law officer of the state, or counsel employed for the state.
Tenn. Code Ann. § 20-13-102(a). The Tennessee Claims Commission has been endowed by the
Tennessee State Legislature with exclusive jurisdiction to determine all monetary claims against the
State. Lattimer v. Tennessee Dep_t. of Correction, 2002 WL 598558 at *3 (Tenn.Ct.App., 2002).
Thus, this Court does not have jurisdiction over state claims for monetary damages against a state
employee Gwyn is an officer of the State of Tennessee and was acting by authority of the State at
all times pertinent to this lawsuit. Any state claims against him in his official capacity which seek
monetary damages from the State would be prohibited and must be dismissed

Defendant also argues that state claims against him in his individual capacity are barred by
absolute immunity, Section 9-8-307 of the Tennessee Code Annotated states in pertinent part that
“[s]tate officers and employees are absolutely immune from liability for acts or omissions within the
scope of the officer’s or employee’s office or employment, except for willful, malicious, or criminal
acts or omissions or for acts or omissions done for personal gain.” Tenn. Code Ann. §9~8-307(h).
The statute specifies that “state officer or “ernployee” is defined in T.C.A. § 8-42-101(3), which
states that a state employee is “any person who is a state official . . . or any person who is employed
in the service of and whose compensation is payable by the state. . . .” Tenn. Code Ann. § 8-42-101-
3(A). Thus, any claims against a state employee for acts within the scope of his employment are
seen as claims against the State. §§ Cavnar v. State, 2003 WL 535915 at *3 (Tenn.Ct.App. 2003).

However, the State does not accept liability “for willful, malicious, or criminal acts by state

employees, or for acts on the part of state employees done for personal gain. Within its general

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preserve of sovereign immunity, the State has not consented to be liable for its employees’ wrongful
intentional acts.” _I_gl_. (internal citations omitted). Therefore, any claims against Defendant for acts
that were willful, malicious, criminal, or for personal gain would not be protected by sovereign
immunity and would be actionable against the Defendant in his individual capacity However,
Plaintiffs do not assert any such claims against Gwyn. Any allegations against Defendant are based
on actions that fell within the scope of Gwyn’s employment and would, at most, constitute
negligence, not willfulness, maliciousness, criminal, or for Defendant’s own personal gain. Thus,
Defendant is protected by absolute immunity Therefore, the Court lacks jurisdiction over the state
claims against Defendant in his individual capacity

Accordingly, the Court grants Defendant’s motion to dismiss Plaintiffs’ state law claims
against Defendant.
IV. CONCLUSION

For the aforementioned reasons, the Court GRANTS Defendant’s motion to dismiss all

claims against Defendant Mark Gwyn in both his official and individual capacity

rr rs so oRnERED this 22 ewday orAugusr, 2005.

 

U ITED STATES DISTRICT JUDGE

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